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  EXHIBIT 84
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                                                                        Page 1

1                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
2                     Case No.: 1:21-cv-7955-LAK
                and Consolidated Cases 21-cv-7957-LAK
3                         and 21-cv-7959-LAK
         -----------------------------------------x
4        MARVEL CHARACTERS, INC.,
5             Plaintiff and Counterclaim-Defendant
6        v.
7        LAWRENCE D. LIEBER,
8             Defendant and Counterclaimant.
         -----------------------------------------x
 9       MARVEL CHARACTERS, INC.,
10            Plaintiff and Counterclaim-Defendant,
11       v.
12       KEITH A. DETTWILER, in his capacity as
         Executor of the Estate of Donald L. Heck,
13
14            Defendant and Counterclaimant.
         -----------------------------------------x
15       MARVEL CHARACTERS, INC.,
16            Plaintiff and Counterclaim-Defendant,
17       v.
18       PATRICK S. DITKO, in his capacity as
         Administrator of the Estate of Stephen J.
19       Ditko,
20            Defendant and Counterclaimant.
         -----------------------------------------x
21
22              VIDEO DEPOSITION OF ROY WILLIAM THOMAS, JR.
23                            January 20, 2023
24                               8:49 a.m.
25                       Charlotte, North Carolina

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                                                                         Page 2

1               ROY WILLIAM THOMAS, JR., pursuant to Federal Rule of

2        Civil Procedure 30, held at the offices of Nelson Mullins

3        Riley & Scarborough in the Foster Conference Room A, located

4        at 301 South College Street, One Wells Fargo Center, 23rd

5        Floor, Charlotte, North Carolina 28202, before

6        Audra Smith, a realtime court reporter and

7        a Notary Public of the State of North Carolina.

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                                                                        Page 3

1
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16       ALSO PRESENT:
17       DAVID COOPER, Videographer
         ELI BARD, Marvel Entertainment, (Via Zoom)
18       Alec Lipkind, The Walt Disney Company, (Via Zoom)
19
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                                                                        Page 4

1                              S T I P U L A T I O N S
2
                    IT IS HEREBY STIPULATED AND AGREED,
3
         by and among counsel for the respective
4
         parties hereto, that the filing, sealing
5
         and certification of the within deposition
6
         shall be and the same are hereby waived;
7
                    IT IS FURTHER STIPULATED AND AGREED
8
         that all objections, except as to form of
9
         the question, shall be reserved to the time
10
         the trial;
11
                    IT IS FURTHER STIPULATED AND AGREED
12
         that the within deposition may be signed
13
         before any Notary Public with the same
14
         force and effect as if signed and sworn to
15
         before the Court.
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17
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                                                                       Page 30

1        those, the next two were to dialogue stories that
2        had been plotted and roughly penciled by Steve Ditko
3        of Dr. Strange, two 10-page stories.                   Each of them
4        was like a half a comic.
5               Q     Okay.     We'll come back to some of these
6        superhero comics in a little bit.                   But roughly --
7        this is 1965?
8               A     Yes.     September, October.
9               Q     And you testified earlier that you
10       reported to Stan Lee for your salaried position,
11       whether that was as a staff writer or as the
12       editorial assistant; is that correct?
13              A     Yes.
14              Q     And did that -- did you also report to
15       Stan Lee as a freelance writer?
16              A     Yes.
17              Q     Anyone else that you reported to?
18              A     Well, a lot of it went through the
19       production manager, Sol Brodsky.                   But I always
20       understood that Sol was acting for Stan and that
21       virtually anything he told me, you know, or asked me
22       to do, with his expression, you know, "Do me a
23       favor," was always -- you know, basically it was as
24       part of my, you know, job for Stan.                   So he wasn't
25       really, like, my superior but he was speaking for

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1        him, so -- and we had no problems over that.
2               Q     And did there come a time at Marvel where
3        your position changed again?
4               A     Well, the next time was around the end of
5        '66, turn of '66-'67 when Stan hired a second
6        writer, a friend of mine from Missouri that I had
7        suggested to him, who also took a writer's test,
8        named Gary Friedrich, and Stan took the two of us
9        out to lunch to -- just to talk over things and
10       get -- you know, Gary was fairly new at the company.
11                    And on the way there, Stan suddenly said,
12       "Well, you know, we need some titles around here, I
13       decided."    So he says, "Roy, from now on, you're the
14       associate editor."        I had never known what I was
15       before that.     And he said, "Gary, I guess, you're
16       newer, so you're the assistant editor."
17                    That was how I learned what my new
18       situation was.        It didn't involve any kind of
19       change, particularly.          I mean, you know, it was just
20       doing more of the same kind of thing and maybe
21       supervising Gary a bit.
22              Q     And who did you report to as the
23       associate editor for Marvel Comics?
24              A     To Stan.
25              Q     And were you still doing freelance

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1        well, which -- strike that.
2                     Which books were you referring to when
3        you say "Stan doesn't even bother to read them now"?
4               A     The titles were Patsy and Hedy, Millie
5        the Model, and the other one was Modeling with
6        Millie which was the second bimonthly book with the
7        same character.
8               Q     And were any of those superhero books?
9               A     No.
10              Q     Okay.     Let's turn -- flip the page.
11                    And can you tell me what the balance of
12       the document is, please.
13              A     Yes.     It alternates between the -- to a
14       copy of the typewriter sheet page that I was given
15       along with Steve Ditko's original penciled art for
16       this Doctor Strange story.             These were his notes
17       with a couple of words just to make sure, since they
18       were very, very rough pencil since he was going to
19       ink it, they told me basically what was going --
20       what was going on so I wouldn't have to try to, you
21       know, make sure I -- so I would make sure I knew
22       what was going on exactly and wouldn't get something
23       wrong in the story.
24              Q     And so the artwork that we see on page --
25       for example, 274, is that reflective of the detail

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1        of the pencils that you received from Steve Ditko?
2               A     Well, this is the finished artwork inked.
3        What I got was much rough, the figures were like
4        little ballons and you could tell what the hands and
5        arms were, that there was a little bit of background
6        and so forth.         But it was very sketchy.             If he were
7        going to have -- if he were not going to ink the
8        story, he would have done it in more detail.                      But
9        since he was going to ink it, he only needed enough
10       for him and me to be able to see.                   This was actually
11       first done with the idea that Stan would write it.
12              Q     Why do you say that this was first done
13       with the idea that Stan would write it?
14              A     Because Stan had been writing the -- for
15       the last year or so, Stan had been the scripter of
16       all the Doctor Strange stories.
17              Q     Who, if anyone, asked you to become the
18       writer on this Doctor Strange story?
19              A     Stan Lee.
20              Q     And did you have an understanding of who
21       decided who would be the artist on the -- this
22       Doctor Strange story?
23              A     Well, I knew that Stan had decided that
24       Steve Ditko would.         He had been doing it since the
25       beginning.

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                                                                      Page 89

1               Q      And what was the basis for your
2        understanding that Stan Lee had decided that Steve
3        Ditko would work on this comic?
4               A      Stan made all the artist assignments.
5               Q      And was that true over the entirety of
6        the relevant period, that is 1962 to '75 to your
7        understanding?
8               A      Yes.     Sometimes the production manager
9        would make certain inking decisions because -- you
10       know, in a hurry, but he would -- they would always
11       be subject to Stan.         Even if they were made, they
12       were made in Stan's name, and they could be canceled
13       or changed if Stan wanted that.
14              Q      And so when we see the words on page 273
15       which is the second page of the exhibit, "Found
16       place to hide.        Must move fast."
17                     Do you see that?
18              A      Oh, this, yes.          That's -- yes -- Steve's
19       writing, yes.
20              Q      And what did that mean to you?
21              A      Well, it was in the middle of a story I
22       continued from the preceding month's story, so I had
23       that to look at, too, with all written and drawn
24       out.
25                     And Doctor Strange was fleeing some

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1        enemies of his.        He was kind of trussed up, and so
2        forth, with his body.           So he was trying to find a
3        place for his body, his physical body to hide so
4        that his enemies couldn't find him and destroy him.
5        And he had to send out his astral self since he was
6        a sorcerer to find a hiding place for him.
7                       It was just to convey a sense of, not
8        just what he was doing, but that there was a sense
9        of urgency.
10              Q       And does that correspond to the drawings
11       that follow on page 274?
12              A       Yes.    I -- you know, I added different
13       things to it as I was fleshing it out, but sort of
14       took that and just did whatever I felt I should do
15       with it.
16              Q       And you can see on page 274 the credit
17       box?
18              A       Yes.
19              Q       And based on your working on this comic
20       issue, are those credits accurate?
21              A       Yes.
22              Q       And it says, for example, "Edited and
23       rehashed by Stan Lee."
24                      What does that mean to you?
25              A       Well, besides being the editor of a

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1        BY MR. TOBEROFF:
2               Q      And how soon after that did Perfect
3        Films -- soon after their purchase of Magazine
4        Management in 1968, how soon after that did they
5        change their name to Cadence?
6               A      I don't know.         A couple of years or so,
7        but I can't recall.         It was Perfect Film for a
8        little while but not too long.                They saw -- it
9        wasn't a film company really anymore, so they wanted
10       to come up with another more generalized name, I
11       guess.     But it was a couple of years, I think.
12                     But, again, I didn't take any particular
13       notice of it because I had -- I had no real dealings
14       with Perfect Film or Cadence, you know.                   My dealings
15       were always with Martin Goodman, who occasionally
16       remained as the line publisher, and with Stan Lee.
17              Q      So I realize that you've written books
18       about Marvel and the history of Marvel, including
19       Marvel in the 1940s and '50s, and about Stan Lee.
20       But you've not been designated as an expert witness
21       in the case.        You're testifying here today only as a
22       percipient witness.
23                     Do you understand that?
24              A      No.
25              Q      Do you know what I mean by percipient

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1                to the extent that it calls for a legal
2                conclusion or lacks foundation.
3                        You can answer.
4                A       I never really knew or thought about it.
5        I always thought of myself as working for Marvel
6        Comics.       In fact, in a lot of ways I told people I
7        was working for Stan Lee.              I thought it was a more
8        personal thing than just that.                 If I had said a
9        company, I would have always said Marvel Comics.
10       But that doesn't mean that that was the official
11       name.       It's just what I would have said.                Whether
12       the official name was Cadence or Perfect Film or
13       Magazine Management, to me it was always Marvel
14       Comics from the day I walked in the door until I
15       left.
16       BY MR. TOBEROFF:
17               Q       But you were an actual employee --
18               A       Yes.
19               Q       -- of a company?
20               A       Yes.
21               Q       And you don't know what company that was?
22                       MS. LENS:     Objection.            It's
23               argumentative.       It's been asked and answered.
24               A       There were various overlappings, Marvel
25       comics being a part of Magazine Management and then

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                                                                     Page 283

1        think they ever wrote out any kind of guidelines for
2        us.    It was all sort of word of mouth.
3        BY MR. TOBEROFF:
4               Q        After Perfect Film purchased Magazine
5        Management, did they have printed guidelines for
6        freelance writers and artists doing work with
7        Marvel?
8               A        I don't recall ever seeing any.               It
9        didn't seem like anything really changed.                   We knew
10       we had different owners of the sort.                 That was about
11       it.    But we didn't interchange with them.                 Stan
12       maybe did a little, but the rest of us did not.
13                       MR. TOBEROFF:       What exhibit are we up to?
14                       THE COURT REPORTER:           82.
15                       MR. TOBEROFF:       I'd like to mark as
16              Exhibit 82 an agreement dated 1974 between
17              Marvel Comics Group and Roy Thomas.
18                       THE WITNESS:      Oh, it's my contract again.
19                       MS. LENS:    Can we have a copy, Marc?
20                       MR. TOBEROFF:       Yes.      Just a second.
21                       THE WITNESS:      It's the same document as
22              the '74 contract.
23                       MS. LENS:    So this was already marked
24              today.
25                       THE WITNESS:      Yes.

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1        you know, mostly for Marvel because it kept the
2        style similar.        But, you know, you couldn't legally
3        force them.       If the person did too many things you
4        didn't like, you just didn't give them another
5        assignment.       That was up to what they wanted to do
6        and what you wanted to do.               It was a very free
7        market.
8                       MR. TOBEROFF:          Next exhibit is 82,
9               correct?
10                      I'd like to mark this drawing as
11       Exhibit 82.
12                      (Exhibit Number 82 was identified.)
13       BY MR. TOBEROFF:
14              Q       I'd like to draw your attention to the
15       illustration at the top left of Exhibit 82.
16              A       Uh-huh.
17              Q       It's on the top half of Exhibit 82.
18              A       Yes.
19              Q       On the left side, it's a face.
20              A       Uh-huh.
21              Q       Do you recognize that character?
22                      MS. LENS:      Objection to form.             Lacks
23              foundation.
24              A       It's a bearded man with a cloak.
25

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1        BY MR. TOBEROFF:
2               Q        Doesn't look familiar to you at all?
3                        MS. LENS:    Same objections.            Lacks
4               foundation.
5               A        No.   It looks like any number of comic
6        book magicians over the years imitating Mandrake
7        going back into the '40s.
8        BY MR. TOBEROFF:
9               Q        So it doesn't look like any comic book
10       character we discussed today?
11                       MS. LENS:    Objection to form.            It's been
12              asked and answered, lacks foundation.
13              A        Because I can't help seeing that the
14       envelope says Steve Ditko, it's obviously -- it
15       bears resemblance to Doctor Strange.                 But any
16       character he drew in a cloak and mustache would have
17       a resemblance to Doctor Strange and also to Mandrake
18       the Magician and 100 other comic book magicians that
19       existed between 1940 and 1960.
20       BY MR. TOBEROFF:
21              Q        So you said this character resembles 100
22       other comic book characters?
23              A        Maybe that's an exaggeration but quite a
24       few.       There were a lot of comic book magicians.
25       They were all imitating the comic strip character

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1        repeal -- appeal from that judgment.
2               Q      When you started at Marvel in July of
3        1965, was Stan Lee and Steve Ditko on good terms?
4               A      One of the first things I had learned in
5        the first couple of days, Sol Brodsky was the one
6        who told me, was that Stan Lee and Steve Ditko, for
7        the last little bit, months or whatever, were not
8        even speaking to each other, which of course was
9        utterly astonishing to me.
10              Q      How long did that rift continue?
11              A      Well, I don't know exactly how long it
12       was going before I got there.               That was in July.
13       Steve walked in and quit near the end of the year,
14       so it was about a half a year.                But the actual
15       situation probably lasted a little longer than that
16       because it was there when I got there until the day
17       Steve walked in and said he was quitting.
18              Q      Would Steve Ditko plot Spider-Man stories
19       in addition to drawing them?
20              A      Yes, he did.        And he was credited for
21       that for the last year or so of his term there.                      It
22       said plotted and drawn by Steve Ditko.
23              Q      Does that fairly describe what's called
24       the Marvel method?
25              A      It was -- it was a switch on the Marvel

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1        BY MR. TOBEROFF:
2               Q      You also mentioned that Sol Brodsky --
3        Stan would sometimes give you directions through Sol
4        Brodsky; is that correct?
5               A      Yes.
6               Q      Would you sometimes communicate with Stan
7        through Sol Brodsky?
8               A      Occasionally.         Not so much.         If I had
9        something to say to Stan, I would usually say --
10       once in a while there would be something that was
11       just easier for Sol to tell him.                   Or it would have
12       to do with both of them, so I would mention it to
13       Sol, and then Sol would talk to Stan if he needed
14       to.
15              Q      Why would Stan talk to you through Sol
16       Brodsky?
17                     MS. LENS:      Objection to the extent it
18              lacks foundation.        Objection to form.
19              A      Well, he was a busy guy, and Sol would
20       want to take all -- any work away from him he could
21       and interpret it and then get my answer.                   It would
22       just save Stan a lot of time because Sol very much
23       understood what Stan wanted.              He was just one of
24       those people who, you know, as John Verpoorten
25       became one of these people who's very good at

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12                      with Millie No. 44, and a few More
13                      Marvel Milestones!
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17       Exhibit 64     Magazine, Comic Book Artist,
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20                      Marvel in the 1970s!",
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5        Exhibit 69     4/13/11 Deposition of Roy Thomas
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7        Exhibit 70     Trial, 10/13/99,
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9        Exhibit 71     Employment Contracts & Correspondence
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12       Exhibit 72     Comic:     Tales of Suspense, "The Crimson
13                      Dynamo strikes again!               And none,
14                      but Iron Man can hope to stop him!"
15                      2021MARVEL-0005039 to 5052                                 76
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17                      Roy to Jerry with comic samples,
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20                      Captain Marvel, 2021MARVEL-3353 to
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23                      Iron Man and Captain America
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6                       (#40),     2021MARVEL-0071516 to 71578                    166
7        Exhibit 78     Plot:     Avengers v. Super-Adaptoid,
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11       Exhibit 80     Subpoena for Roy Thomas                                   199
12       Exhibit 81     Responses and Objections to
13                      Subpoena to Produce Documents,
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1                         PREVIOUSLY MARKED EXHIBITS
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3        Exhibit 3      AlterEgo magazine article,
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1                REQUESTS FOR MARKED PORTIONS OF TRANSCRIPT

2        PAGE/LINE       DESCRIPTION

3        185/8          Question by Toberoff:      Did you ask Marvel's

4                       attorneys to represent you in this case?

5        188/14         Question by Toberoff:      Did Marvel's attorneys tell

6                       you why they were suggesting that they represent

7                       you?

8        190/2          Question by Toberoff:      And what did they tell you?

9        218/13         Question by Toberoff:      What was -- at

10                      that meeting, what was said to you by Marvel's

11                      attorneys?

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1        STATE OF NORTH CAROLINA )

2        COUNTY OF FORSYTH          )

3                         REPORTER'S CERTIFICATE

4                               I, Audra Smith in and for the above county

5        and state, certify that the person hereinbefore named was

6        taken before me at the time and place and was sworn by me and

7        that such deposition is a true record of the testimony given

8        by such witness.

9                               I further certify that I am not related to

10       any of the parties to this action by blood or marriage and

11       that I am in no way interested in the outcome of this matter.

12                              IN WITNESS WHEREOF, I have hereto set my

13       hand this 6th day of February, 2023.

14

15

         <%19326,Signature%>

16       __________________________

17       Audra Smith

18       Notary Number:     201329000033

19       Commission Expires:     June 26, 2025

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